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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

 Robert Katen, on behalf of himself and all             )
 others similarly situated                              )
                                                        )    Civil Action No. __________
 Plaintiffs,                                            )
                                                        )    CLASS ACTION COMPLAINT
 v.                                                     )
                                                        )    JURY TRIAL DEMANDED
 Lyons Magnus, LLC,                                     )
 Defendant.                                             )



         Plaintiff Robert Katen (“Plaintiff”), on behalf of himself and all others similarly situated,

  files this Class Action Complaint (“CAC”) against Defendant Lyons Magnus, LLC (“Defendant”),

  and in support state the following:

                                    NATURE OF THE ACTION

         1.      This is a class action lawsuit by Plaintiff, and others similarly situated, who

  purchased Defendant’s Recalled Products, including: Lyons Ready Care, Lyons Barista Style,

  Pirq, Glucerna, Aloha Protein Powder, Intelligentsia, Kate Farms, Oatly, Premier Protein, MRE,

  Stumptown Cold Brew Coffee, Imperial, and Thick/Nectar Consistency Dairy Drink (hereinafter

  “Recalled Products”), which were all manufactured, sold and distributed by Defendant. Several

  of Defendant’s Recalled Products have been shown to be adulterated with Cronobacter sakazakii

  and Clostridium botulinum. The presence of Cronobacter sakazakii and Clostridium botulinum in

  Defendant’s Recalled Products was not disclosed in the products’ label, in violation of state and

  federal law. Plaintiff and the putative classes suffered economic damages due to Defendant’s

  misconduct (as set forth below) and they seek injunctive relief and restitution for the full purchase

  price of the Recalled Products they purchased. Plaintiff alleges the following based upon personal


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  knowledge as well as investigation by counsel, and as to all other matters, upon information and

  belief. Plaintiff further believes that substantial evidentiary support will exist for the allegations

  set forth herein after a reasonable opportunity for discovery.

                                    JURISDICTION AND VENUE

          2.      This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). The matter

  in controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000 and is a

  class action in which there are in excess of 100 class members and Plaintiff is a citizen of a state

  different from Defendant.

          3.      This Court has jurisdiction over Defendant because Defendant is authorized to

  conduct and does business in Florida. Defendant has marketed, promoted, distributed, and sold

  Recalled Products, including the Recalled Product identified below, in Florida and Defendant has

  sufficient minimum contacts with this State and/or sufficiently avail themselves of the markets in

  this State through promotion, sales, distribution and marketing within this State to render the

  exercise of jurisdiction by this Court permissible.

           4.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b) because a

  substantial part of the events or omissions giving rise to Plaintiff’s claims occurred while she

  resided in this judicial district. Venue is also proper under 18 U.S.C. §1965(a) because Defendant

  transacts substantial business in this District.

                                             THE PARTIES

          5.      Plaintiff is a citizen and resident of Indian River County, Florida and at all times

  relevant hereto, has been a resident of Indian River County. In or around December 2021, Plaintiff

  began purchasing Defendant’s product at Costco and Sam’s Club retail stores located in and

  around West Palm Beach, Florida and Vero Beach, Florida. At the time of purchase, based on the


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  false and misleading claims by Defendant, Plaintiff was unaware that Defendant’s Recalled

  Products may be adulterated with Cronobacter sakazakii and Clostridium botulinum. Plaintiff

  purchased the Defendant’s products on the assumption that the labeling of Defendant’s products

  were accurate and that the products were unadulterated, safe and effective. Plaintiff would not

  have purchased Defendant’s Recalled Products had he known there was a risk the products may

  contain Cronobacter sakazakii and Clostridium botulinum. As a result, Plaintiff suffered injury in

  fact when she spent money to purchase products he would not otherwise have purchased absent

  Defendant’s misconduct, as alleged herein. Plaintiff may purchase the products again if the

  product is not contaminated and is properly labeled.

             6.      Defendant Lyons Magnus, LLC, is a food service corporation. Defendant is a

      California Corporation with its principal place of business in Fresno, California, located at: 3158

      East Hamilton Avenue, Fresno, California 93702. Defendant manufactures, markets, advertises,

      labels, distributes and sells the Recalled Products at issue in this litigation.

                                              INTRODUCTION

             7.      The following Recalled Products are manufactured, marketed, and sold by

      Defendant: Lyons Barista Style, Lyons Ready Care, Glucerna, Tone It Up, Uproot, Organic

      Valley, Sated, Aloha, Rejuvenate, Optimum Nutrition, Sweetie Pie Organics, Intelligentsia,

      Ensure Harvest, PediaSure Harvest, Glucerna Original, Kate Farms Pirq, Oatly. Premier Protein,

      MRE, Stumptown, and Imperial.1 A full list of the Recalled Products is included below.

             8.      Defendant distributes these Recalled Products both nationwide and internationally.




  1
   https://www.foodsafetynews.com/2022/08/lyons-magnus-expands-recall-of-oatly-stumptown-and-other-
  beverages-over-microbial-
  contamination/#:~:text=Lyons%20Magnus%20has%20announced%20that,the%20organisms%20Cronobacter%20s
  akazakii%20and (last visited August 16, 2022).
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             9.      Defendant’s packaging notes that these products contain safe, quality ingredients

      that are suitable for consumption by vulnerable populations including young, old, and ill people.

             10.     On July 28, 2022, Defendant recalled a list of fifty-three (53) of its products due to

      possible contamination with Cronobacter sakazakii (hereinafter “Cronobacter”).

             11.     As part of the Warning, the FDA Deputy Commissioner for Food Policy and

      Response stated, “Lyons Magnus LLC (“Lyons Magnus” or the “Company”) today announced

      that it is voluntarily recalling nutritional and beverage products due to the potential for microbial

      contamination, including from the organism Cronobacter. The list of recalled products does not

      include products intended for infants (i.e. under the age of one). While infection related to

      Cronobacter is rare, the common symptoms of illness could include fever, vomiting and urinary

      tract infection.”2

             12.     The initial recall notice included the products listed above and included the

      following product information:3

                                                              UPC Case (if                              Best By
         Brand        Description      UPC Carton                                    Lot Code
                                                              sold in cases)                             Date
                     Thickened                                                          4512          12/30/2022
                     Dairy Drink -
                     Moderately                                                         5512          12/31/2022
                     Thick/Honey 045796100466               10045796100463
                     Consistency
                     12ct/32 fl oz                                                      5902           11/1/2022
      Lyons
      Ready Care     cartons
                     Thickened
                     Dairy Drink -
                     Moderately    045796100442             10045796100449              0012           11/6/2022
                     Thick/Honey
                     Consistency



  2
    https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/lyons-magnus-voluntarily-recalls-53-
  nutritional-and-beverage-products-due-potential-microbial (last visited August 16, 2022).
  3
    Id.
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                                               UPC Case (if                 Best By
     Brand    Description     UPC Carton                        Lot Code
                                               sold in cases)                Date
              24ct/8 fl oz
              cartons
              2.0 High                                           1412      2/15/2023
              Calorie High
              Protein                                            6312      2/10/2023
              Nutritional                                        9312      2/13/2023
                              045796100497   10045796100494
              Drink Butter
              Pecan
              12ct/32 fl oz                                      9902       1/4/2023
              cartons
              2.0 High        045796100503   10045796100500      8212       2/2/2023
              Calorie High
              Protein
              Nutritional
              Drink           045796100459   10045796100456      3512      12/29/2022
              Chocolate
              12ct/32 fl oz
              cartons
              Thickened                                          4512      12/30/2022
              Dairy Drink -
              Mildly
              Thick/Nectar         ;                  ;
              Consistency                                        7902      11/3/2022
              12ct/32 fl oz
              cartons
                                                                 5312       2/9/2023
              2.0 High                                           6312      2/10/2023
              Calorie High
              Protein                                            6512       3/2/2023
              Nutritional
                              045796100916   10045796100913      7512       3/3/2023
              Drink
              Vanilla                                            8512       3/4/2023
              12ct/32 fl oz
              cartons                                            8902       1/3/2023
                                                                 9902       1/4/2023
              Thickened                                          3712      1/18/2023
              Dairy Drink -
                            045796100435     10045796100432      5212      12/1/2022
              Mildly
              Thick/Nectar                                       5712      1/20/2023


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                                                  UPC Case (if                Best By
      Brand       Description    UPC Carton                        Lot Code
                                                  sold in cases)               Date
                 Consistency                                        8512      1/3/2023
                 24ct/8 fl oz
                 cartons                                            8902      11/4/2022
                                                                    4712      1/19/2023
                                                                    9902      11/5/2022
                                                                    2012      1/7/2023

                 Almond                                             3012      1/8/2023
                 Non-Dairy                                          3712      3/19/2023
                 Beverage        045796101654   10045796101651
                 12ct/32 fl oz                                      4012      1/9/2023
                 cartons                                            5712      3/21/2023
                                                                    5012      1/10/2023
                                                                    1612      3/7/2023
                 Coconut                                            2612      3/8/2023
                 Non-Dairy
   Lyons
                 Beverage        045796101791   10045796101798      2712      3/18/2023
   Barista Style
                 12ct/32 fl oz
                 cartons                                            3612      3/9/2023
                                                                    8412      2/22/2023
                                                                    0612      3/6/2023

                 Oat Non-                                           2212      1/27/2023
                 Dairy                                              3212      1/28/2023
                 Beverage        045796101807   10045796101804
                 12ct/32 fl oz                                      4212      1/29/2023
                 cartons                                            6412      2/20/2023
                                                                    7412      2/21/2023
                                                                    5412      5/25/2023
                 Plant
                 Protein                                            6412      5/26/2023
                 Decadent
                                 857690008065    857690008164       7412      5/27/2023
                 Chocolate
   Pirq          12ct/325ml                                         8012      4/18/2023
                 cartons
                                                                    9012      4/19/2023

                 Plant                                              8412      7/27/2023
                                 857690008089    857690008140
                 Protein                                            9412      7/28/2023

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                                              UPC Case (if                Best By
     Brand    Description    UPC Carton                        Lot Code
                                              sold in cases)               Date
              Caramel
              Coffee
              12ct/325ml
              cartons
              Plant                                             3412      5/23/2023
              Protein
              Golden                                            4412      5/24/2023
                             857690008041    857690008157
              Vanilla
              12ct/325ml                                        5012      4/15/2023
              cartons
              Plant
              Protein
              Decadent
                             857690008065    857690008294       9012      4/19/2023
              Chocolate
              4ct/325ml
              cartons
              Plant
              Protein
              Caramel
                             857690008089    857690008270       8412      7/27/2023
              Coffee
              4ct/325ml
              cartons
              Plant                                             4412      5/24/2023
              Protein
              Golden                                            6012      4/16/2023
                             857690008041    857690008287
              Vanilla
              4ct/325ml                                         7012      4/17/2023
              cartons

              Plant                                             4412      7/23/2023
              Protein Very                                      5412      7/24/2023
              Strawberry     857690008300    857690008331
              12ct/325ml                                        7012      6/16/2023
              cartons                                           8012      6/17/2023
              Plant
              Protein Very
              Strawberry     857690008300    857690008317       7012      6/16/2023
              4ct/325ml
              cartons


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                                                  UPC Case (if                 Best By
      Brand        Description   UPC Carton                        Lot Code
                                                  sold in cases)                Date
                                                                   400254X00   8/1/2023
                   Chocolate                                       400264X00   8/1/2023
                   24ct/237ml    70074685656      70074685649
                   cartons                                         400274X00   8/1/2023
                                                                   410364X00   9/1/2023
                   Strawberry                                      400244X00   8/1/2023
   Glucerna        24ct/237ml    70074685670      70074685663
   Original 8 fl   cartons                                         410354X00   9/1/2023
   oz tetra
   carton 24                                                       400194X00   8/1/2023
   count club                                                      400204X00   8/1/2023
   case (sold
   only at                                                         400214X00   8/1/2023
   Costco, BJ's
   Wholesale                                                       400224X00   8/1/2023
   Club, and       Vanilla                                         400234X00   8/1/2023
   Sam's Club)     24ct/237ml    70074685632      70074685625
                   cartons                                         410294X00   9/1/2023
                                                                   410304X00   9/1/2023
                                                                   410314X00   9/1/2023
                                                                   410334X00   9/1/2023
                                                                   410344X00   9/1/2023
                   Chocolate                                         8312      7/12/2023
                   Sea Salt
                   Plant-Based
                                 842096112355   10842096142359
                   Protein                                           9312      7/13/2023
                   4ct/330ml
                   cartons
                   Coconut
                   Plant-Based
   Aloha
                   Protein       842096112379 108420961423733        7312      7/11/2023
                   4ct/330ml
                   cartons
                   Vanilla
                   Plant-Based
                   Protein       842096112348   10842096142342       7312      7/11/2023
                   4ct/330ml
                   cartons


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                                                     UPC Case (if                    Best By
      Brand         Description     UPC Carton                         Lot Code
                                                     sold in cases)                   Date
                    Iced Coffee                                          0412       7/19/2023
                    Plant Based
                    Protein         842096112386   10842096142380
                    4ct/330ml                                            9312       7/18/2023
                    cartons
                    Cold Coffee
                    12ct/330ml      800222000969   10800222000966        9212       12/7/2022
                    cartons
   Intelligentsia
                    Oat Latte                                            7112        1/4/2023
                    12ct/330ml      800222000976   10800222000980
                    cartons                                              8112        1/5/2023

                                                                         2512        6/1/2023
                    Pediatric                                            3512        6/2/2023
                    Standard
   Kate Farms       1.2 Vanilla     851823006904    851823006997         4512        6/3/2023
                    12ct/250ml
                    cartons                                              5512        6/4/2023
                                                                         6512        6/5/2023
                                                                                    20APR2023
                                                                         0112
                                                                                       LM
                                                                                    21APR2023
                                                                         1112
                                                                                       LM
                    Oat-Milk                                                        02APR2023
                    Barista                                              2902
                                                                                       LM
                    Edition
                    12ct/32 fl oz                                                   03APR2023
   Oatly                            190646630058 101906466300550         3902
                    slim cartons                                                       LM
                    (Food
                    Service                                                         04APR2023
                                                                         4902
                    Channel)                                                           LM
                                                                                    26APR2023
                                                                         6112
                                                                                       LM
                                                                                    19APR2023
                                                                         9012
                                                                                       LM
                                                                      2412/2142BT   7/20/2023
                    Chocolate
   Premier
                    12ct/330ml      643843714477    643843714200      3412/2143BT   7/21/2023
   Protein
                    cartons
                                                                      4612/2164BT   8/11/2023


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                                               UPC Case (if                   Best By
      Brand    Description   UPC Carton                          Lot Code
                                               sold in cases)                  Date
                                                                5612/2165BT   8/12/2023
                                                                66122166BT    8/13/2023
                                                                0012/2100BT   6/8/2023
                                                                1012/2101BT   6/9/2023
                                                                1212/2121BT   6/29/2023
               Vanilla                                          1612/2161BT   8/8/2023
               18ct/330ml    643843715351     643843718642
               cartons                                          2012/2102BT   6/10/2023
                                                                2212/2122BT   6/30/2023
                                                                3012/2103BT   6/11/2023
                                                                4012/2104BT   6/12/2023
               Chocolate
               18ct/330ml    643843715344     643843718581      9712/2179BT   8/26/2023
               cartons
                             643843714507     643843713944      0612/2160BT   8/7/2023
               Vanilla                                          4902/2094BT   6/2/2023
               12ct/330ml         ;                   ;
               cartons                                          9512/2159BT   8/6/2023

                                                                4902/2094BT   6/2/2023
                                                                5902/2095BT   6/3/2023
               Vanilla
               4ct/330ml     643843714507     643843714736      6902/2096BT   6/4/2023
               cartons
                                                                7902/2097BT   6/5/2023
                                                                8902/2098BT   6/6/2023
                                                                3212/2123BT   7/1/2023
                                                                4212/2124BT   7/2/2023
               Café Latte
               4ct/330ml     643843716686     643843716662      5212/2125BT   7/3/2023
               cartons
                                                                62122126BT    7/4/2023
                                                                7212/2127BT   7/5/2023
               Café Latte
               18ct/330ml    643843716655     643843718567      8212/2128BT   7/6/2023
               cartons

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                                               UPC Case (if                    Best By
      Brand    Description    UPC Carton                         Lot Code
                                               sold in cases)                   Date
               Vanilla
               15ct/330ml     643843714507    643843720461      5902/2095BT    6/3/2023
               cartons
               Cookies &                                           2112       4/22/2023
               Cream
               Protein                                             3112       4/23/2023
                              810044573893   10810044573968
               Shake
               4ct/330ml                                           9612       6/18/2023
               cartons
               Milk                                                3112       4/23/2023
               Chocolate
               Protein                                             4112       4/24/2023
                              810044573916   10810044573944
               Shake
               4ct/330ml                                           5112       4/25/2023
               cartons
   MRE
               Salted                                              1112       4/21/2023
               Caramel
               Protein                                             2112       4/22/2023
                              810044573923   10810044573937
               Shake                                               7612       6/16/2023
               4ct/330ml
               cartons                                             8612       6/17/2023
               Vanilla Milk                                        0112       4/20/2023
               Shake
               Protein                                             1112       4/21/2023
                              810044573909   10810044573951
               Shake                                               6612       6/15/2023
               4ct/330ml
               cartons                                             7612       6/16/2023
               Cold Brew                                           3312       12/9/2022
               Coffee With
               Oat Milk
                              855186006878   10855186006875
               Original                                            4312       12/10/2022
               12ct/325ml
               cartons
   Stumptown
               Cold Brew                                           4312       12/10/2022
               Coffee With
               Oat Milk
                              855186006892   10855186006892
               Horchata                                            5312       12/11/2022
               12ct/325ml
               cartons


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                                                UPC Case (if                 Best By
      Brand    Description     UPC Carton                        Lot Code
                                                sold in cases)                Date
               Cold Brew
               Coffee With
               Oat Milk
                               855186006892   10855186006892      6312      12/12/2022
               Chocolate
               12ct/325ml
               cartons
               Cold Brew                                          0412      12/16/2022
               Coffee With
               Cream &
               Sugar           855186006861    855186006861
               Chocolate                                          1412      12/17/2022
               12ct/325ml
               cartons
               Cold Brew                                          2312      12/8/2022
               Coffee with
               Cream &
               Sugar           855156306847   10855186006844
               Original                                           3312      12/9/2022
               12ct/325ml
               cartons
                                                                  2312       2/6/2023
               Med Plus
               2.0 Vanilla                                        3312       2/7/2023
               Nutritional
                               074865927307   10074865927304      7112      1/22/2023
               Drink
               12ct/32 fl oz                                      8112      1/23/2023
               cartons
                                                                  8612      3/14/2023
               Thickened                                          5512      12/31/2022
               Dairy Drink -
               Moderately                                         5902      11/1/2022
   Imperial
               Thick/Honey 0734730556147 10734730556144           6902      11/2/2022
               Consistency
               12ct/32 fl oz                                      7212      12/3/2022
               cartons

               Thickened                                          0012      11/6/2022
               Dairy Drink -                                      2212      11/28/2022
               Mildly        074865945493     10074865945490
               Thick/Nectar                                       3212      11/29/2022
               Consistency                                        4212      11/30/2022

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                                                        UPC Case (if                         Best By
      Brand         Description       UPC Carton                            Lot Code
                                                        sold in cases)                        Date
                   24ct/8 fl oz                                                5712         1/20/2023
                   cartons
                                                                               6712         1/21/2023
                                                                               9902         11/5/2022
                   Med Plus                                                    1902         12/27/2022
                   NSA 1.7
                   Vanilla
                   Nutritional     0734730310749 10734730310746
                   Drink                                                       1312          2/5/2023
                   12ct/32 fl oz
                   cartons
                   Med Plus                                                    0012          1/5/2023
                   2.0 Butter
                   Pecan                                                       1412         2/15/2023
                   Nutritional     074865927321        10074865927328          9512          3/5/2023
                   Drink
                   12ct/32 fl oz                                               9902          1/4/2023
                   cartons
                                                                               2512         12/28/2022
                   Thickened
                   Dairy Drink - 0734730556154 10734730556151                  3512         12/29/2022
                   Mildly
                                                                               6902         11/2/2022


                   Thickened                                                   4212         11/30/2022
   Thick/Nectar    Dairy Drink -                                               6212          12/2/2022
   Consistency     Moderately
   12ct/32 fl oz   Thick/Honey 074865945509            10074865945506
   cartons         Consistency
                   24ct/8 fl oz
                   cartons


         13.       These   products    may   contain    Cronobacter      sakazakii    and   Clostridium

   botulinumbacteria.




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             14.       Per the CDC website, Cronobacter is a germ that can live in very dry places. The

       germs can live in dry foods, such as powdered food products. 4

             15.       Cronobacter sakazakii and Clostridium botulinum bacterium can get into the

       Recalled Product if contaminated raw materials are used to make the product or if the powder

       touches a contaminated surface in the manufacturing environment.

             16.       Cronobacter sakazakii and Clostridium botulinum bacterium can cause severe,

       life-threatening infections, blood stream infections (sepsis), meningitis, and symptoms may

       include: fever, vomiting, and urinary tract infection. Infants, people over sixty-five (65), and

       those with weakened immune systems are those most at risk of developing severe illness from

       Cronobacter.5

             17.       On August 16, 2022, the FDA published an announcement by Lyons Magnus that

       the manufacturer expanded its recall to include “additional nutritional and beverage products due

       to the potential for microbial contamination.” 6 The recall expanded to include nearly 400

       additional Lyons Magnus food nutritional and beverage products, which are listed in their entirety

       at the following FDA.gov website: https://www.fda.gov/safety/recalls-market-withdrawals-

       safety-alerts/lyons-magnus-expands-voluntary-recall-include-additional-nutritional-and-

       beverage-products-due.

             18.       “This recall is being conducted due to the potential for microbial contamination,

       including from the organisms Cronobacter sakazakii and Clostridium botulinum.”

             19.       According to Lyons Magnus’ own company statement:



   4
     CDC.gov, https://www.cdc.gov/cronobacter/technical.html (last visited August 16, 2022).
   5
     Id.
   6
     FDA.gov, https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/lyons-magnus-expands-voluntary-
   recall-include-additional-nutritional-and-beverage-products-due (last visited August 16, 2022).


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             Clostridium botulinum may cause a severe form of food poisoning. It can begin
             from six hours to two weeks after eating food that contains the toxin. Symptoms
             may include double vision, blurred vision, drooping eyelids, slurred speech,
             difficulty swallowing, and muscle weakness. Botulism poisoning can cause
             respiratory paralysis, resulting in death, unless assistance with breathing
             (mechanical ventilation) is provided.7

             20.     Defendant failed to take adequate, reasonable measures to protect the health and

       lives of people consuming its products.

             21.     Plaintiff purchased Defendant’s Recalled Product – specifically, Premier Protein-

       Chocolate, at Sam’s Club in or around Vero Beach and Costco in or around West Palm Beach.

             22.     Plaintiff made purchases of the Premier Protein – Chocolate in or around

       approximately December 2021, April 2022, July 2022 and August 2022.

             23.     Plaintiff paid approximately $25 per case for each 15-pack purchased at Sam’s

       Club and approximately $36 per case for each 18-pack purchased at Costco.

             24.     As a direct and proximate result of Plaintiff purchasing the Recalled Product,

       Plaintiff has suffered injuries as alleged below.

                                     CLASS ACTION ALLEGATIONS

             25.     Plaintiff bring this action on behalf of himself and all other similarly situated class

       members (the “Class” or “Classes”) pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules

       of Civil Procedure and seeks certification of the following Class and/or Sub-Classes against

       Defendant for violations of Florida state laws and/or similar laws in other states:

                                          Multi-State Class Action

             All consumers who purchased any of Defendant’s Recalled Product in the United
             States of America and its territories from July 1, 2021 to the present for personal
             use or consumption.

             Excluded from the Class are individuals who allege personal bodily injury resulting
             from the use of the Recalled Products. Also excluded from this Class are

   7
       Id.
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           Defendant, any parent companies, subsidiaries, and/or affiliates, officers, directors,
           legal representatives, employees, co-conspirators, all governmental entities, and
           any judge, justice or judicial officer presiding over this matter.


           26.     In the alternative, Plaintiff brings this action on behalf of himself and all other

    similarly situated Florida consumers pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules

    of Civil Procedure and seeks certification of the following Sub-Classes:

                                            Florida Sub-Class

           All consumers who purchased any of Defendant’s Recalled Product in Florida
           America from July 1, 2021 to the present for personal use or consumption.

           Excluded from the Class are individuals who allege personal bodily injury resulting
           from the use of the Recalled Products. Also excluded from this Class are
           Defendant, any parent companies, subsidiaries, and/or affiliates, officers, directors,
           legal representatives, employees, co-conspirators, all governmental entities, and
           any judge, justice or judicial officer presiding over this matter.


        27.        Plaintiff reserves the right to modify these definitions.

        28.        The members of the Class are so numerous that joinder of all members of the Class

   is impracticable. Plaintiff is informed and believes that the proposed Class/Sub-Classes contains

   thousands of purchasers of Defendant’s Recalled Products who have been damaged by

   Defendant’s conduct as alleged herein. The precise number of Class members is unknown to

   Plaintiff at this time.

        29.        Plaintiff’s claims are typical to those of all Class members because members of the

   Class are similarly injured through Defendant’s uniform misconduct described above and were

   subject to Defendant’s deceptive claims that accompanied each and every Recalled Product.

   Plaintiff is advancing the same claims and legal theories on behalf of himself and all members of

   the Class/Sub-Class.




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        30.         Plaintiff’s claims raise questions of law and fact common to all members of the

   Class, and they predominate over any questions affecting only individual Class members. The

   claims of Plaintiff and all prospective Class members involve the same alleged defect. These

   common legal and factual questions include the following:

              (a)   whether Defendant’s Products contained Cronobacter sakazakii and

                    Clostridium botulinum bacterium;

              (b) whether Defendant’s omissions are true, or are misleading, or objectively

                    reasonably likely to deceive;

              (c)   whether the alleged conduct constitutes violations of the laws asserted;

              (d) whether Defendant’s alleged conduct violates public policy;

              (e)   whether Defendant’s engaged in false or misleading advertising; and

              (f) whether Plaintiff and the Class members are entitled to damages and/or

                    restitution and the proper measure of that loss.

        31.         Plaintiff and their counsel will fairly and adequately protect and represent the

   interests of each member of the class. Plaintiff have retained counsel experienced in complex

   litigation and class actions. Plaintiff’s counsel has successfully litigated other class action cases

   similar to that here and have the resources and abilities to fully litigate and protect the interests of

   the class. Plaintiff intends to prosecute this claim vigorously. Plaintiff has no adverse or

   antagonistic interests to those of the Class, nor are Plaintiff subject to any unique defenses.

        32.         A class action is superior to the other available methods for a fair and efficient

   adjudication of this controversy. The damages or other financial detriment suffered by the Plaintiff

   and individual Class members is relatively small compared to the burden and expense that would

   be entailed by individual litigation of their claims against Defendant. It would thus be virtually


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   impossible for Plaintiff and Class members, on an individual basis, to obtain meaningful and

   effective redress for the wrongs done to them. Further, it is desirable to concentrate the litigation

   of the Class members’ claims in one forum, as it will conserve party and judicial resources and

   facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would be

   encountered in the management of this case that would preclude its maintenance as a class action.

       33.        The Class also may be certified because Defendant has acted or refused to act on

   grounds applicable to the Class, thereby making appropriate final declaratory and/or injunctive

   relief with respect to the members of the Class as a whole.

       34.        Plaintiff seek preliminary and permanent injunctive and equitable relief on behalf

   of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

   Defendant from engaging in the acts described above and requiring Defendant to provide a full

   refund of the purchase price of the Defendant’s Recalled Products. Products to Plaintiff and Class

   members.

       35.        Unless a Class is certified, Defendant will retain monies received as a result of their

   conduct that were taken from Plaintiff and the Class members. Unless a Class-wide injunction is

   issued, Defendant will continue to commit the violations alleged and the members of the Class

   and the general public will continue to be misled.

                                   FIRST CAUSE OF ACTION
                                        Unjust Enrichment
                     (On Behalf of the Multi-State Class and All State Classes)

       36.        Plaintiff incorporate by reference and re-alleges each and every allegation

   contained above, as though fully set forth herein.

       37.        As a result of Defendant’s wrongful and deceptive conduct alleged herein,

   Defendant knowingly and voluntarily accepted and retained wrongful benefits in the form of


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   money paid by the Plaintiff and members of the Classes when they purchased the Defendant’s

   Recalled Products.

       38.        In so doing, Defendant acted with conscious disregard for the rights of Plaintiff

   and members of the Classes.

       39.        As a result of Defendant’s wrongful conduct as alleged herein, Defendant has been

   unjustly enriched at the expense of, and to the detriment of, Plaintiff and members of the Classes.

       40.        Defendant’s unjust enrichment is traceable to, and resulted directly and

   proximately from, the conduct alleged herein.

       41.        Under the common law doctrine of unjust enrichment, it is inequitable for

   Defendant to be permitted to retain the benefits it received, and is still receiving, without

   justification, from the false and deceptive labeling and marketing of Defendant’s Recalled

   Products to Plaintiff and members of the Classes.

       42.        Defendant’s retention of such funds under circumstances making it inequitable to

   do so constitutes unjust enrichment.

       43.        The financial benefits derived by Defendant rightfully belong to Plaintiff and

   members of the Classes.

       44.        Defendant should be compelled to disgorge in a common fund for the benefit of

   Plaintiff and members of the Classes all wrongful or inequitable proceeds received by them.

       45.        Finally, Plaintiff and members of the Classes may assert an unjust enrichment

   claim even though a remedy at law may otherwise exist.


                                SECOND CAUSE OF ACTION
                            Negligent Misrepresentation/Omission
                    (On Behalf of the Multi-State Class and All State Classes)




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       46.        Plaintiff incorporate by reference and re-allege each and every allegation contained

   above, as though fully set forth herein.

       47.        Through their labeling and advertising, Defendant made representations to Plaintiff

   and the Class members concerning the safety of their Recalled Products.

       48.        Defendant has a duty to provide accurate information to consumers with respect to

   the ingredients identified in Defendant’s Recalled Products as detailed above.

       49.        Additionally, Defendant has a duty to not make false representations with respect

   to the safety of their Products.

       50.        Defendant failed to fulfill its duty when it made false representations regarding the

   quality and safety of the Products as detailed above.

       51.        Such failures to disclose on the part of Defendant amount to negligent omission

   and the representations regarding the quality and safety of the product amount to negligent

   misrepresentation.

       52.        Plaintiff and the other members of the Classes reasonably relied upon such

   representations and omissions to their detriment.

       53.        By reason thereof, Plaintiff and the other Class members have suffered damages in

   an amount to be proven at trial.


                                   THIRD CAUSE OF ACTION
                                    Breach of Express Warranty
                      (On Behalf of the Multi-State Class and All State Classes)

       54.        Plaintiff incorporates by reference and re-allege each and every allegation

   contained above, as though fully set forth herein.

       55.        As detailed above, Defendant, through its written literature, packaging and

   labeling, and written and media advertisement, expressly warranted that the Recalled Products

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   were safe and fit for the purposes intended, that they were of merchantable quality, and that they

   did not pose dangerous health risks.

       56.        Plaintiff and the other Class members read and relied on these express warranties

   provided by Defendant in the packaging and written advertisements.

       57.        Defendant breached its express warranties because the Recalled Products were

   defective and not reasonably safe for their intended use.

       58.        Defendant knew or should have known that the Recalled Products did not conform

   to their express warranties and representations and that, in fact, the Products are not safe and pose

   serious health risks because they contain Cronobacter.

       59.        Plaintiff and the other Class members have suffered harm on account of

   Defendant’s breach of its express warranty regarding the fitness for use and safety of these

   Products and are entitled to damages to be determined at trial.

                                 FOURTH CAUSE OF ACTION
                                   Breach of Implied Warranty
                     (On Behalf of the Multi-State Class and All State Classes)

       60.        Plaintiff incorporates by reference and re-allege each and every allegation

   contained above, as though fully set forth herein.

       61.        Because the Recalled Products contained Cronobacter, they were not of the same

   quality as those generally acceptable in the trade and were not fit for the ordinary purposes for

   which such these nutritional and beverage products are used.

       62.        Plaintiff and members of the Classes purchased these Products in reliance upon

   Defendant’s skill and judgment and the implied warranties of fitness for the purpose.

       63.        The Defendant’s Recalled Products were not altered by Plaintiff or members of the

   Classes.


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       64.        Plaintiff and members of the Classes were foreseeable users of the Products.

       65.        Plaintiff and members of the Classes used the Products in the manner intended.

       66.        As alleged, the Defendant’s Recalled Products were not adequately labeled and did

   not disclose that they contain harmful Cronobacter.

       67.        The Products did not measure up to the promises or facts stated in the written

   literature, media advertisement and communications by and from Defendant.

       68.        Defendant impliedly warranted that the Products were merchantable, fit and safe

   for ordinary use.

       69.        Defendant further impliedly warranted that the Products were fit for the particular

   purposes for which they were intended and sold.

       70.        Contrary to these implied warranties, the Products were defective, unmerchantable,

   and unfit for their ordinary use when sold, and unfit for the particular purpose for which they were

   sold.

       71.        By reason thereof, Plaintiff and the other Class members have suffered damages in

   an amount to be proven at trial.


                                  FIFTH CAUSE OF ACTION
                           Strict Product Liability – Failure to Warn
                   (On Behalf of the Multi-State Class and All State Classes)

       72.        Plaintiff incorporates by reference and re-allege each and every allegation

   contained above, as though fully set forth herein.

       73.        Defendant knew or should have known that the Defendant’s Recalled Products

   contained Cronobacter.

       74.        Defendant had a duty to warn Plaintiff and the other Class members about the

   presence of Cronobacter in their Products.

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        75.           In addition, Defendant had a duty to warn Plaintiff and the other Class members

   about the dangers of the presence of Cronobacter in their Products.

        76.           Defendant knew that the risk of Cronobacter infection from use of its products was

   not readily recognizable to an ordinary consumer and that consumers would not inspect the

   product for Cronobacter content.

        77.           Defendant did not warn Plaintiff and the other Class members that Defendant’s

   Recalled Products contain Cronobacter or about the dangers of the presence of Cronobacter

   sakazakii and Clostridium botulinum bacterium in their Products.

        78.           Plaintiff and the other Class members suffered damages by purchasing the

   Defendant’s Recalled Products in a manner promoted by Defendant, and in a manner that was

   reasonably foreseeable by Defendant. Plaintiff and the members of the Classes would not have

   purchased Defendant’s Recalled Products had they known they contained Cronobacter sakazakii

   and Clostridium botulinum bacterium.

        79.           Plaintiff and the other Class members were justified in their reliance on

   Defendant’s labeling and advertising of the product for use as a safe nutritional and beverage

   product.

        80.           Plaintiff and the other Class members have suffered damages in an amount to be

   proven at trial.


                                      SIXTH CAUSE OF ACTION
                             Strict Product Liability – Manufacturing Defect
                           (On Behalf of the Multi-State Class and All State Classes)

        81.           Plaintiff incorporates by reference and re-allege each and every allegation

   contained above, as though fully set forth herein.




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        82.        The Defendant’s Recalled Products contained a manufacturing defect when they

   left the possession of Defendant. Specifically, the Products differ from Defendant’s intended result

   or from other lots of the same product line because they contain Cronobacter sakazakii and

   Clostridium botulinum bacterium.

        83.        Plaintiff and the other Class members used the Products in a way that was

   reasonably foreseeable to Defendant.

        84.        As a result of the defects in the manufacture of the Defendant’s Recalled Products,

   Plaintiff and the other Class members suffered damages.

        85.         Accordingly, Plaintiff and members of the Classes suffered damages in an amount

   to be proven at trial.

                                  SEVENTH CAUSE OF ACTION
                  Violation of Florida’s Deceptive and Unfair Trade Practices Act
                                      Fla. Stat. §§ 501.201-213
                                   (On Behalf of the Florida Class)

        86.        Plaintiff incorporates by reference and re-alleges each and every allegation

   contained above, as though fully set forth herein.

        87.        Plaintiff was a consumer who used Defendant Recalled Products primarily for

   personal use and thereby suffered ascertainable losses, including mental anguish, as a result of

   Defendant’s acts and omissions in violation of the applicable consumer protection laws.

        88.        The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) renders

   unlawful unfair methods of competition, unconscionable acts or practice, and unfair or deceptive

   acts or practices in the conduct of any trade or commerce. Fla. Stat. § 501.204.

        89.        Among other purposes, FDUTPA is intended “[t]o protect the consuming public

   and legitimate business enterprises from those who engage in unfair methods of competition, or




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   unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

   Fla. Stat. § 501.202.

        90.        As alleged herein, Plaintiff has suffered injury in fact and lost money as a result of

   Defendant’s conduct because they purchased Recalled Products from Defendant in reliance on

   Defendant’s representation that the ingredients in their Recalled Products were safe and effective

   and were not contaminated with microorganisms, such as Cronobacter sakazakii and Clostridium

   botulinum bacterium.

        91.        Defendant has engaged, and continue to engage, in conduct that is likely to deceive

   members of the public. This conduct includes representing in their labels that their Recalled

   Products contain only the ingredients listed in the label, which is untrue, and failing to make any

   mention that the Recalled Products are adulterated with microorganisms, such as Cronobacter

   sakazakii and Clostridium botulinum bacterium.

        92.        Florida Statutes, Section 501.204, makes unfair and/or deceptive trade practices in

   the conduct of any trade or commerce illegal.

        93.        Florida Statutes, Section 501.211, creates a private right of action for individuals

   who are aggrieved by an unfair and/or deceptive trade practice by another person.

        94.        Florida Statutes, Section 501.2105, provides that the prevailing party in litigation

   arising from a cause of action pursuant to Chapter 501 shall be entitled to recover attorney’s fees

   within the limitations set forth therein form the non-prevailing party.

        95.        Florida Statutes, Section 501.213, provides that any remedies available under

   Chapter 501 are in addition to any other remedies otherwise available for the same conduct under

   state or local law.




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       96.        Florida Statutes, Section 501.203 (3)(c), states that a person has violated the

   FDUTPA if he/she violates “any law, statute, rule, regulation, or ordinance which proscribes

   unfair, deceptive, or unconscionable acts or practices.”

       97.        Defendant is engaged in the practice of manufacturing, marketing, distributing,

   selling and otherwise placing into the stream of commerce the Recalled Products which constitutes

   trade and commerce as defined by Sections 501.203(8) Fla. Stat., and is therefore subject to

   FDUPTA.

       98.        As a result of Defendant’s unfair and deceptive trade practices, Plaintiff is entitled

   to an award of attorney’s fees pursuant to FDUTPA, Florida Statutes, Section 501.2105, if they

   prevail.

       99.        Defendant’s conduct with respect to the labeling, advertising, marketing, and sale

   of their Recalled Products is unfair because Defendant’s conduct was immoral, unethical,

   unscrupulous, or substantially injurious to consumers and the utility of its conduct, if any, does

   not outweigh the gravity of the harm to its victims.

       100.       In accordance with FDUTPA, Plaintiff seeks an order enjoining Defendant from

   continuing to conduct business through fraudulent or unlawful acts and practices and to commence

   a corrective advertising campaign. Defendant’s conduct is ongoing and continuing, such that

   prospective injunctive relief is necessary.

       101.       Plaintiffs also seeks an order entitling them to recover all monies spent on the

   Defendant’s Recalled Products, which were acquired through acts of fraudulent, unfair, or

   unlawful competition. In addition, the measure of restitution should be full refund of the purchase

   price insofar as the Recalled Products and their associated labels are worthless. But for Defendant’s

   misrepresentations and omissions, Plaintiff would have paid nothing for Recalled Products that


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   have a risk of containing microorganisms such as Cronobacter sakazakii and Clostridium

   botulinum bacterium. Indeed, there is no discernible “market” for a nutritional/beverage product

   that may be adulterated with harmful bacteria. As a result, the Defendant’s Recalled Products are

   rendered valueless.

        102.       As a result of Defendant’s conduct in the manufacture of the Defendant’s Recalled

   Products violating the foregoing statutes and regulations, Plaintiff suffered damages in an amount

   to be proven at trial.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, pray for

   judgment against the Defendant as to each and every count, including:

           A.      An order declaring this action to be a proper class action, appointing Plaintiff and

                   their counsel to represent the Class/Sub-Classes, and requiring Defendant to bear

                   the costs of class notice;

           B.      An order requiring Defendant to engage in a corrective advertising campaign and

                   engage in any further necessary affirmative injunctive relief;

           E.      An order awarding declaratory relief, and any further retrospective or prospective

                   injunctive relief permitted by law or equity, including enjoining Defendant from

                   continuing the unlawful practices alleged herein, and injunctive relief to remedy

                   Defendant’s past conduct;

           F.      An order requiring Defendant to pay restitution/damages to restore all funds

                   acquired by means of any act or practice declared by this Court to be an unlawful,

                   unfair, or fraudulent business act or practice, untrue or misleading advertising in




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                  violation of the above-cited authority, plus pre- and post-judgment interest

                  thereon;

          G.      An order requiring Defendant to disgorge any ill-gotten benefits received from

                  Plaintiff and members of the Class/Sub-Classes as a result of any wrongful or

                  unlawful act or practice;

          H.      An order requiring Defendant to pay all actual and statutory damages permitted

                  under the counts alleged herein;

          I.      An order awarding attorneys' fees and costs to Plaintiff and the Class/Sub-

                  Classes; and

          J.      An order providing for all other such equitable relief as may be just and proper.


                                         DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable.



   DATED: August 17, 2022


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